
60 So.3d 1104 (2011)
Paul WOODALL, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-0668.
District Court of Appeal of Florida, First District.
April 29, 2011.
Paul Woodall, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
Petitioner filed a motion to modify his sentence in the trial court pursuant to Florida Rule of Criminal Procedure 3.800(c). The trial court denied the motion as untimely. We treat the petitioner's notice of appeal as a petition for certiorari and deny the petition. See Platt v. State, 890 So.2d 502 (Fla. 1st DCA 2004); Davis v. State, 745 So.2d 499 (Fla. 1st DCA 1999).
DENIED.
DAVIS, VAN NORTWICK, and CLARK, JJ., concur.
